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AO 245B      (Rev. 10/15) Judgment in a Criminal Case
             Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                            Middle District of Georgia
                                                                        )
             UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                    )
                                                                        )
                      SARAH CARTER                                      )      Case Number: 7:14-CR-00048-010
                                                                        )      USM Number:  97705-020
                                                                        )
                                                                        )      KIMBERLY COPELAND
                                                                                 Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count(s) 1s
☐ pleaded nolo contendere to count(s)
    which was accepted by the court.
☐ was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                        Offense Ended     Count
21:846 i/c/w 21:841(a)(1) and                    Conspiracy to Possess with Intent to Distribute
21:841(b)(1)(B)                                  Cocaine and Cocaine Base                                 10/28/2014        1s


       The defendant is sentenced as provided in pages 2 through                6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐      The defendant has been found not guilty on count(s)

☐      Count(s)                                         ☐   is    ☐ are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         4/13/2016
                                                                         Date of Imposition of Judgment



                                                                         s/Hugh Lawson
                                                                         Signature of Judge



                                                                         HUGH LAWSON, SENIOR U.S. DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                         04/21/2016
                                                                         Date
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AO 245B     (Rev. 10/15) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2       of   6
DEFENDANT:                     SARAH CARTER
CASE NUMBER:                   7:14-CR-00048-010



                                                                  IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:        155 months.




     ☐      The court makes the following recommendations to the Bureau of Prisons:




     ☒      The defendant is remanded to the custody of the United States Marshal.

     ☐      The defendant shall surrender to the United States Marshal for this district:

          ☐      at                                  ☐     a.m.     ☐ p.m.        on                                            .

          ☐      as notified by the United States Marshal.

     ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐      before 2 p.m. on                                             .

          ☐      as notified by the United States Marshal.

          ☐      as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
I have executed this judgment as follows:


          Defendant delivered on                                                             to

at                                                       , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL



                                                                              By __________________________________________________
                                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                         Judgment—Page              3   of             6
DEFENDANT:                     SARAH CARTER
CASE NUMBER:                   7:14-CR-00048-010

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 5 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
☐
          future substance abuse. (Check, if applicable.)
☒         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.          (Check, if applicable.)

☒         The defendant shall cooperate in the collection of DNA as directed by the probation officer.    (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
☐         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
☐      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant’s compliance with such notification requirement.
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           Sheet 3C — Supervised Release
                                                                                   Judgment—Page   4     of      6
 DEFENDANT:                SARAH CARTER
 CASE NUMBER:              7:14-CR-00048-010

                                         SPECIAL CONDITIONS OF SUPERVISION

       You shall participate in a program of drug and alcohol testing and treatment. The U.S. Probation Office shall
administratively supervise your participation in the program by approving the program, administering the testing, and
supervising the treatment. You shall contribute to the costs of such treatment not to exceed an amount determined
reasonable by the court approved "U.S. Probation Office's Sliding Scale for Services", and shall cooperate in securing
any applicable third-party payment, such as insurance or Medicaid.

       You shall submit your person, property, house, residence, vehicle, papers, computers (as defined by 18 U.S.C.
§ 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a
United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The
Defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition.
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AO 245B       (Rev. 10/15) Judgment in a Criminal Case
              Sheet 5 — Criminal Monetary Penalties

                                                                                                       Judgment — Page       5       of       6
 DEFENDANT:                           SARAH CARTER
 CASE NUMBER:                         7:14-CR-00048-010

                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                      Fine                                  Restitution
 TOTALS               $ 100                                         $                                          $


 ☐        The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

 ☐        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
      paid before the United States is paid.

 Name of Payee                                       Total Loss*                     Restitution Ordered                    Priority or Percentage



 TOTALS                                  $                                       $


 ☐        Restitution amount ordered pursuant to plea agreement $

 ☐        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ☐        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ☐     the interest requirement is waived for         ☐   fine      ☐        restitution.

          ☐     the interest requirement for the               ☐   fine      ☐        restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev. 10/15) Judgment in a Criminal Case
             Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page        6       of        6
 DEFENDANT:                    SARAH CARTER
 CASE NUMBER:                  7:14-CR-00048-010

                                                            SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☐ Lump sum payment of $                                      due immediately, balance due

             ☐     not later than                                     , or
             ☐     in accordance           ☐ C,         ☐      D    ☐    E, or ☐ F below; or

 B     ☒ Payment to begin immediately (may be combined with                       ☐ C,         ☐ D, or          ☒ F below); or
 C     ☐ Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     ☐ Payment during the term of supervised release will commence within                                     (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     ☒ Special instructions regarding the payment of criminal monetary penalties:
 Any criminal monetary penalty ordered by the court shall be due and payable in full immediately. Present and future Assets are subject to
 enforcement and may be included in the treasury offset program allowing qualified federal benefits to be applied to the balance of criminal
 monetary penalties.

 Payment during the term of supervised release will commence within 60 days after release from imprisonment. The court will set the
 payment plan based on an assessment of the defendant’s ability to pay at that time. (fine/restitution) payment shall be due during the period
 of imprisonment at the rate of not less than $25 per quarter and pursuant to the bureau of prisons’ financial responsibility program. The value
 of any future assets may be applied to offset the balance of criminal monetary penalties. The defendant may be included in the treasury
 offset program, allowing qualified benefits to be applied to offset the balance of any criminal monetary penalties.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐        Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.


 ☐        The defendant shall pay the cost of prosecution.

 ☐        The defendant shall pay the following court cost(s):

          The defendant shall forfeit the defendant’s interest in the following property to the United States: You shall forfeit the items
 ☒        agreed upon as a condition of your plea agreement as follows: the real property which includes a mobile home
          located at 6147 Futch Road, Hahira, Cook County, Georgia.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
